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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

JOSEPH OZMUN,                  §
                               §
           Plaintiff,          §
                               §
           v.                  §
                               §
PORTFOLIO RECOVERY             §                      CASE NUMBER: AU-16-CV-00940-SS
ASSOCIATES, LLC; RAUSCH, STURM,§                                   AU-17-CV-00664-SS
ISRAEL, ENERSON & HORNIK, LLC; §                                   AU-17-CV-00665-SS
AND TRAVELERS CASUALTY AND     §
SURETY COMPANY OF AMERICA,      §                     Honorable Sam Sparks
                                §
           Defendants.          §

______________________________________________________________________________

                             NOTICE OF APPEAL
    TO THE UNITED STATES COURT OF APPEALS FOR THE FIFTH CIRCUIT
______________________________________________________________________________


       Plaintiff JOSEPH OZMUN and Plaintiff’s counsel MICHAEL J. WOOD, CELETHA C.

CHATMAN, and COMMUNITY LAWYERS GROUP file this Notice of Appeal to the United

States Court of Appeals for the Fifth Circuit from the following orders of the District Court for the

Western District of Texas, Austin Division:


       Order Denying Plaintiff’s Motion to Recuse Judge Sparks (Dkt #107) entered May 16,
       2018 [Dkt #113];

       Order Granting Defendant's [144] Motion to Dismiss, entered August 9, 2018 [Dkt # 149];

       Order Denying Plaintiff’s [152] Motion for Attorneys’ Fees and Granting
       Defendants’[151] Motion for Attorneys’ Fees entered March 29, 2019 [Dkt #177]; and

       Final Judgment entered March 29, 2019 [Dkt #178].



       DATED: April 26, 2019.
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                           Respectfully submitted,


                           /s/ Michael J. Wood

                           Michael J. Wood
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                                        Certificate of Service

        I hereby certify that on the 26th day of April, 2019, I electronically filed the foregoing

document with the Clerk of the Court by using the CM/ECF system, which will send a notice of

electronic filing to all counsel of record in this matter.

                                                /s/ Michael J. Wood




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